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                                    IN THE UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG                               MDL NO. 2179
DEEPWATER HORIZON IN THE
GULF OF MEXICO, ON APRIL 20, 2010

IN RE THE COMPLAINT AND PETITION OF
TRITON ASSET LEASING GMBH, ET AL., IN A                       SECTION: J
CAUSE FOR EXONERATION FROM OR
LIMITATION OF LIABILITY
                                                              JUDGE BARBIER
THIS DOCUMENT RELATES TO:
10-CV-02771 and 10-CV-2179                                    MAGISTRATE JUDGE SHUSHAN


                  DEFENDANT DRIL-QUIP, INC.’S MEMORANDUM OF LAW
                 IN SUPPORT OF ITS MOTION TO DISMISS WEATHERFORD
                    U.S. LP and WEATHERFORD INTERNATIONAL, INC.’S
                      CROSS-CLAIM FOR FAILURE TO STATE A CLAIM

                                              SUMMARY

           This lawsuit arises out of an incident that occurred while the Deepwater Horizon, a

mobile offshore drilling unit owned and operated by Transocean entities, was drilling the

Macondo No. 1 well for BP Exploration and Production, Inc., the lessee. Dril-Quip, Inc. (“Dril-

Quip”) manufactured the subsea wellhead and certain related equipment (the “Subsea Wellhead

System”) used on the Macondo well and provided a service technician onboard the Deepwater

Horizon to assist with the installation of the Subsea Wellhead System.

           On May, 20, 2011, Weatherford filed cross-claims (the “Cross-Claim”) against eighteen

entities, including Dril-Quip. The Cross-Claim alleged that:


           1.      “At all material times, upon information and belief, Dril-Quip was a party to a
                   contract (the “Dril-Quip Contract”) with, under which Dril-Quip agreed to
                   provide certain services and/or products to BP.”1

1
    Cross-Claim ¶ IV, at 3 [sic].
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        2.       “[Dril-Quip owes Weatherford indemnity for] Dril-Quip’s own property damage
                 and from and against all claims, damages, costs, attorneys’ fees, expenses and
                 liabilities in respect of personal injury including death or disease to any person
                 employed by Dril-Quip.”2

        3.       “Upon information and belief, the blowout, explosions, fire, and oil spill were
                 caused by the products liability, breach of contract, fault, negligence, inattention
                 to duty, breach of duty, breach of warranty both implied and express, breach of
                 statutory duty, rules and regulations, and other violations of law and contract,
                 which will be shown at the time of trial, on the part of M-I and Dril-Quip and
                 their employees.”3

        4.       “M-I and Dril-Quip are liable to Weatherford for all damages, losses and
                 expenses incurred by Weatherford as a result of the blowout, explosions, fire and
                 oil spill as stated above and are further obligated to protect, defend, hold harmless
                 and indemnify Weatherford from all claims brought against it by third parties
                 arising out of the blowout, explosions, fire and oil spill, whether under the M-I
                 Contract, the Dril-Quip Contract, or at law.”4

        5.       “Alternatively, Weatherford demands contribution from M-I, Dril-Quip, and the
                 Responders, pursuant to the General Maritime Law of the United States or State
                 Law, as applicable, for its claim made herein and for the claims made against it by
                 third parties and for all costs and expenses related to the blowout, explosions, fire
                 and oil spill occurring on or about April 20, 2010 made the basis of these
                 proceedings.”5

This account contains or refers to all references to Dril-Quip made by Weatherford in its Cross-
Claim.


        As the Eastern District of Pennsylvania recently noted,
        … the pleading standards set forth in Twombly and Iqbal apply with equal force to
        crossclaims, counterclaims, and third-party complaints. See, e.g., Travelers
        Indem. Co. v. Dammann & Co., Inc., 594 F.3d 238, 256 n. 13 (3d Cir. 2010)
        (applying Iqbal to crossclaims); Tes Franchising, LLC v. Dombach, 2010 U.S.
        Dist. LEXIS 124751 at *6 (E.D.Pa. November 24, 2010) (applying Iqbal to

2
  Id. ¶ V, at 3.
3
  Id. ¶ IX, at 3-4.
4
  Id. ¶ XIII, at 5.
5
  See id. ¶ XV, at 5.
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       counterclaims); Simon Prop. Gr. v. Palombaro, 682 F.Supp.2d 508, 511
       (W.D.Pa.2010) (same).

Schmolz+Bickenback USA, Inc. v. Dauble, No. 09-751, 2011 WL 285123, *3 (E.D.Pa., Jan. 28,

2011); see also Reishus v. Almaraz, No. CV-10-01760-PHX-LOA, 2011 WL 42679, *3 (D.

Ariz., Jan. 06, 2011); West v. American Electric Power Co., No. 2:09-cv-00985, 2010 WL

3910189, *4 (S.D.W.Va., Oct. 4, 2010); Miami Valley Fair Housing Ctr. v. Steiner & Assocs.,

Inc., No. 08-00150, 2010 WL 2631110, at *7 (May 13, 2010) (applying Twombly and Iqbal to

third-party complaint); Colon v. Blades, 268 F.R.D. 143, 2010 WL 1731666, at *2 (D.P.R. Apr.

29, 2010) (same). Under these standards, the Cross-Claim fails to state a claim against Dril-Quip

because Weatherford failed to plead a predicate for a plausible claim against Dril-Quip.

       Because Weatherford fails to plead any facts against Dril-Quip and thus fails to satisfy

the standard set forth in Ashcroft v. Iqbal, 556 U.S. __, 129 S. Ct. 1937, 1949 (2009) and Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 570, (2007), the Court should dismiss the Cross-Claim

against Dril-Quip under Federal Rule 12(b)(6).        Even if the pleading insufficiencies are

overlooked, the Cross-Claim fails as a matter of law to state a claim for negligence under the

general maritime law against Dril-Quip, or to state a valid claim for indemnity.            These

insufficiencies mandate dismissal of all of Weatherford’s claims against Dril-Quip.

                                 ARGUMENT AND AUTHORITIES

                    The Cross-Claim Fails to State a Claim Against Dril-Quip

       A.      The Cross-Claim Must Meet Federal Pleading Standards.
       As noted, supra at 2-3, courts that have considered the issue have repeatedly held that the

Twombly-Iqbal plausibility standards apply not only to plaintiffs’ complaints, but to claims of all

types among defendants as well. See Schmolz+Bickenbach, 2011 WL 285123 at *3. Federal

courts sitting in this state have followed suit. In Martco Ltd. Partnership v. Bruks-Klockner,


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Inc., No. 2:07 CV 2002, 2010 WL 2265145 (W.D.La., Jan. 1, 2010) the court applied Twombly

to dismiss a third-party complaint:


                 Merely alleging possible liability on the face of a complaint is not
         sufficient. As provided in the United States Supreme Court case of Bell Atlantic
         v. Twombly, to survive a motion to dismiss under Federal Rule of Civil Procedure
         12(b)(6), a complaint must contain sufficient factual matter, accepted as true, to
         “state a claim for relief that is plausible on its face.” Bell Atlantic v. Twombly,
         550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). “Factual allegations
         must be enough to raise a right to relief above the speculative level, on the
         assumption that all the allegations in the complaint are true (even if doubtful in
         fact).” Id. at 555-56. Bruks’ Third-Party Complaint provides no basis on which
         derivative liability could arguably be supported. Bruks has failed to meet the
         threshold requirements of pleading a viable legal indemnity claim.


Id. at *6. And, in Cashman Equip. Corp. v. Rozel Operating Co., No. 08-363-C-M2, 2010 WL

3385117 (M.D.La., Apr. 30, 2010), the court ordered repleading of a third party complaint

against a marine surveyor that had alleged fraud, negligent misrepresentation and breach of

contract in general language tracking the elements of the causes of action. Id. at *4. The Court

noted:

                While those facts may be set forth generally in the Third Party Complaint,
                [Third Party Plaintiff] does not allege…how those facts satisfy the
                required elements of causes of action in contract, tort, or fraud under
                general maritime law.       To conclude that such facts satisfy the
                elements…without more specific allegations in that regard would be
                speculative under the Twombly standard…. Moreover, without more
                specific allegations…, it will be difficult for [Third Party Defendant] to
                frame a responsive pleading.

Id. at n.2.

         These cases recognize, as did the Supreme Court in Twombly and Iqbal, see 550 U.S. at

558 and 556 U.S. at ___, 129 S.Ct. at 1953, that requiring a person, natural or legal, to come into

court and defend an action “exacts heavy costs in terms of efficiency and expenditure of valuable

time and resources….” Id.; see also Twombly, 550 U.S. at 557-58 (quoting 5 C. Wright & A.


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Miller, Federal Practice and Procedure § 1216, at 233-34) (claim should be tested for basic

deficiency at “point of minimum expenditure of time and money by the parties and the court”).

That is certainly the case here, where the effect of the Cross-Claim on Dril-Quip, if allowed, will

be to lump Dril-Quip together with more obviously culpable parties in hundreds, perhaps

thousands, of lawsuits when in a year’s time, marked by repeated public investigation of the facts

leading to and away from the Deepwater Horizon incident, barely a score of suits have directly

named Dril-Quip.6

       Dril-Quip respectfully suggests that, as the Supreme Court has held, Rule 8 of the Federal

Rules of Civil Procedure entitles it to dismissal from cases in which no party pleads facts and

legal theories sufficient to render it plausible that it bears or shares liability for wrongful injury.

The principal protection for a defendant – particularly a defendant like Dril-Quip, which has

been sued in only a handful of cases and only on the sketchiest of grounds – is the vigilance of

the district court in performing the gatekeeping function assigned to it by Rules 8 and 12. Unless

extraordinary relief is granted, only this Court can assure that such a defendant, properly will

escape claims “shy of a plausible entitlement to relief,” Twombly, 550 U.S. at 559, at its earliest

opportunity.




       6
            Those suits are no better pled than the Cross-Claim/Counterclaim and the Third-Party
Complaint, and Dril-Quip has filed or will file motions to dismiss each of them. So far, Dril-Quip
submits, no plaintiff anywhere has alleged a claim against it on which relief may be granted. Even after
the February 18, 2011, Third-Party Complaint, which explicitly named Dril-Quip, only two groups of
plaintiffs amended their complaints to name Dril-Quip, and one group has since recanted and dismissed as
to Dril-Quip. See Docts. 1669 & 1713. The other names Dril-Quip only by incorporating language from
the Third-Party Complaint. See Doct. 1524, ¶8 at 3 (Dril-Quip is named in Paragraph XIX of the Third-
Party Complaint).

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       B.      The Complaint Fails to Allege Facts Sufficient to Establish Any Cause of
               Action

       Today, to survive a motion to dismiss under Rules 8 and 12(b)(6), a complaint must

contain “more than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v.

Iqbal, ____ U.S. __, 129 S. Ct. 1937, 1949 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570, (2007)). The “complaint must contain sufficient factual material, accepted as true, to

‘state a claim to relief that is plausible on its face.’” Iqbal, 129 S. Ct. at 1949 (citing Twombly,

550 U.S. at 570)); Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007); see also Sinaltrainal v.

Coca-Cola Co., 578 F.3d 1252, 1261 (11th Cir. 2009)(allegations must push claim past

“conceivable” to “plausible”). These “[f]actual allegations must be enough to raise a right to

relief above the speculative level, on the assumption that all the allegations in the complaint are

true (even if doubtful in fact).” Twombly, 550 U.S. at 555-56, quoted in In re Great Lakes

Dredge & Dock Co. LLC, 624 F.3d 201, 210 (5th Cir. 2010). “We do not accept as true

conclusory allegations, unwarranted factual inferences, or legal conclusions.” Gentilello v. Rege,

627 F.3d 540, 544 (2010)(quoting Plotkin v. IP Axess, Inc., 407 F.3d 690, 696 (5th Cir. 2005)).

“Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Id. at *4. See also Great Lakes, 624 F.3d at 210 (quoting Iqbal to

effect that “legal conclusions can provide the complaint’s framework, [but] must be supported by

factual allegations”); Jacobs v. Tempur-Pedic Int’l, Inc., 626 F.3d 127, 1333 (11th Cir.

2010)(quoting Iqbal, ___ U.S. at ___, 129 S.Ct. at 1949). Under the standard set forth in

Twombly, a complaint must plead “enough fact[s] to raise a reasonable expectation” that a

plaintiff has a right to relief. See 550 U.S. at 557.

       The Cross-Claim alleges only a claim for indemnity and a laundry list of legal theories,

with almost no facts to support them. See Cross-Claim ¶ IX, at 3-4. In the past, such summary

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allegations might have effectively provided notice of a plaintiff’s claim to a defendant, see

Conley v Gibson, 355 U.S. 41, 47 (1957), but Twombly and Iqbal have raised the bar.

Weatherford’s allegations contain no facts that make it “plausible” that Dril-Quip is liable to

Weatherford or to any Plaintiffs/Claimants. Specifically, the Cross-Claim fails to allege any

facts that would establish any elements of Plaintiffs/Claimants’ causes of action; instead, only

innocent facts7 and conclusory assertions8 are set forth. But, as noted in Gentilello and Plotkin,

supra at 8, such makeweights do not help to establish the plausibility of claims that Twombly and

Iqbal require. It is thus impossible to ascertain what Dril-Quip did or failed to do that caused

injury to any party. The Court should therefore dismiss the Cross-Claim against Dril-Quip for

failure to state a claim.

          C.      The Cross-Claim Alleges Facts that Negate Liability For Negligence on the
                  Part of Dril-Quip.

          Further, the Cross-Claim contains no facts that, if true, would render Dril-Quip directly

liable for maritime negligence. Instead, its allegations negate any such liability. As a matter of

law, Dril-Quip did not owe Weatherford or any Plaintiff/Claimant any duty of care.                   “To

establish maritime negligence, a plaintiff must ‘demonstrate that there was a duty owed by the

defendant to the plaintiff, breach of that duty, injury sustained by [the] plaintiff, and a causal

connection between the defendant’s conduct and the plaintiff’s injury.’ ” Canal Barge Co. v.

Torco Oil Co., 220 F.3d 370, 376 (5th Cir. 2000)(quoting In re Cooper/T. Smith, 929 F.2d 1073,

1077 (5th Cir. 1991)).




7
    E.g., “…Dril-Quip agreed to provide certain services and/or products to BP …” Cross-Claim ¶ IV, at 3.
8
  E.g., “…[the incident was] caused by the products liability, …, negligence, lll and other violations of
law ….” Id. ¶ IX, at 3-4.


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       The Cross-Claim alleges no facts from which the Court could infer that Dril-Quip owed

Weatherford any legal duty because it does not allege that Dril-Quip controlled or had any right

to control any of the operations of the Deepwater Horizon. The duty to prevent harm resulting

from oil and gas operations arises as a consequence of control over the operations. See, e.g.,

Ainsworth v. Shell Offshore, Inc., 829 F.2d 548, 550 (5th Cir. 1987), cert. denied, 485 U.S. 1034

(1988). Even when a principal without control over, or participation in, the operation has actual

knowledge of dangerous conditions on an oil rig, the principal has no legal duty to intercede.

See id.; Ronquille v. MMR Offshore Servs., Inc., 353 F. Supp. 2d 680, 682 (E.D. La. 2004) (the

presence of a company representative on an oil platform with knowledge of the rig’s operations

“is insufficient to create a duty; therefore, the law does not support the imposition of liability for

any failure to intercede”).

       Ainsworth is cited by courts applying both Louisiana law and the general maritime law.

See, e.g., Gremillion v. Gulf Coast Catering Co., No. 88-4544, 1989 WL 104100, at *6 (E.D. La.

Sept. 5, 1989), aff’d, 904 F.2d 290 (5th Cir. 1990) (citing Ainsworth in tort case under maritime

law); Fontenot v. Southwestern Offshore Corp., 787 So.2d 588, 594 (La. Ct. App. 2001) (tort

case under maritime law).

       Weatherford’s allegations fall far short of even the Ainsworth facts.              Furnishing

equipment for use in a drilling project owned and operated by others cannot plausibly create a

duty to someone else’s employee working onboard someone else’s vessel. Cf. In re Graham

Offshore, Inc., 287 F.3d 352, 359 (5th Cir. 2002) (no duty owed by rig operator to transportation

contractor hired by third party). The Cross-Claim lacks any facts alleging conduct by Dril-Quip

in breach of any duty, or that any of person’s injuries resulted from any act by Dril-Quip.




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           D.      The Cross-Claim Fails to State a Claim for Product Liability

           Transocean’s alleges that “Dril-Quip is liable to Transocean for its defective and/or

manufacture of the wellhead systems pursuant to Section 402 of the Restatement (Second) of

Torts, as adopted by maritime law.”9

           The Fifth Circuit recently affirmed the dismissal of a complaint for failure to state a

manufacturing defect claim in a non-maritime context because the complaint “does not specify

the manufacturing defect, nor does it specify a causal connection between the failure of the

specific manufacturing process and the specific defect in the process that caused the personal

injury. Nor does the complaint tell us how the manufacturing process failed, or how it deviated

from the FDA approved manufacturing process.” Funk v. Stryker Corp., 631 F.3d 777, 782 (5th

Cir. 2011). Like the complaint dismissed in Funk, the Third-Party Complaint fails to allege any

facts relating to show the elements of a products liability claim are met. Accordingly, this claim

should be dismissed.



                                            CONCLUSION

           Dril-Quip respectfully requests that the Court dismiss Weatherford’s Cross-Claim as to

Dril-Quip pursuant to Federal Rules of Civil Procedure 12(b)(6).




9
    Third-Party Complaint ¶ 55, at 39.

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Date: June 20, 2011
                                               Respectfully submitted,

                                               WARE, JACKSON, LEE & CHAMBERS, LLP

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                                 CERTIFICATE OF SERVICE
        I certify that the above and foregoing document will be served on all counsel by
electronically uploading the same to LexisNexis File & Serve in accordance with Pretrial Order
No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United
States District Court for the Eastern District of Louisiana by using the CM/ECF System which
will send a notice of electronic filing in accordance with the procedures established in MDL
2179, on this 20th day of June, 2011.


                                                  /s/ C. Dennis Barrow, Jr.______________
                                                  C. Dennis Barrow, Jr.




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